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11   UNITED STATES OF AMERICA
12
13                            UNITED STATES DISTRICT COURT
14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                   WESTERN DIVISION
16   UNITED STATES OF AMERICA,                      No. 2:20-CV-11712
17               Plaintiff,                         VERIFIED COMPLAINT FOR
                                                    FORFEITURE
18                     v.
                                                    18 U.S.C. § 981(a)(1)(A) and
19   391.5873617 IN BITCOIN, ONE 1974               21 U.S.C. § 881(a)(6)
     TRIUMPH COMMERCIAL VESSEL
20   AND ONE CALIFORNIA SQUID
     PERMIT,                                        [F.B.I.]
21
                 Defendants.
22
23
           Plaintiff United States of America brings this claim against defendants
24
25   391.5873617 in Bitcoin, One 1974 Triumph Commercial Vessel and One California

26   Squid Permit (collectively, “the “Defendants”), and alleges as follows:

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1                                JURISDICTION AND VENUE
2          1.     This is a civil forfeiture action brought pursuant to 18 U.S.C.
3    § 981(a)(1)(A) and 21 U.S.C. § 881(a)(6).
4          2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1345
5    and 1355.
6          3.     Venue lies in this District pursuant to 28 U.S.C. § 1395.
7                                  PERSONS AND ENTITIES
8          4.     The plaintiff is the United States of America (“plaintiff” or the
9    “government” or “the United States of America”).
10         5.     The Defendants consist of the following:
11                a.     391.5873617 in Bitcoin (the “defendant Bitcoin”), which was seized
12   on January 11, 2019, during the execution of a federal search warrant at a residence in
13   Ventura, California;
14                b.     One 1974 Triumph Commercial Vessel, with California CF Number
15   CF 0788 KC and Hull ID Number C5708 (the “defendant vessel”), seized on February 4,
16   2020, at the Port of Los Angeles, in Los Angeles, California; and
17                c.     One California Squid Permit is a Market Squid Light Boat Permit,
18   with number LBT 024 (the “defendant permit”) issued by the State of California
19   Department of Fish and Wildlife.
20         6.     The Defendants are in the custody of the United States Marshals Service in
21   this District, where they shall remain subject to this Court’s jurisdiction during the
22   pendency of this action.
23         7.     Because Defendants’ owner (hereinafter referred to as “the Vendor”) has
24   agreed to forfeit the Defendants, there are no specific persons or entities that the
25   government can identify whose interests may be adversely affected by these
26   proceedings. Nevertheless, the government will provide notice via the internet of these
27   proceedings to any other potential third party claimants advising those third parties of
28   their right to file a claim to the Defendants and an answer to the Complaint.

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1                           FACTS SUPPORTING FORFEITURE
2          8.     During an investigation of Darknet marketplaces, including the marketplace
3    known as the “Dream” marketplace, law enforcement officers identified the Vendor as a
4    person who sold drugs, including fentanyl patches and opioids dispensed without
5    prescription, over the Darknet marketplace, in exchange for Bitcoin. Dream was one of
6    the world’s largest Darknet marketplaces that allowed persons to sell a wide variety of
7    contraband, including illegal narcotics.
8                                        Defendant Bitcoin
9          9.     During the execution of search warrants on January 11, 2019, officers
10   located the defendant Bitcoin in cold storage wallets at a residence. Vendor admitted to
11   officers the facts set forth in paragraph 10 below.
12         10.    The defendant Bitcoin was derived from the sales of illegal drugs, including
13   fentanyl patches and opioids dispensed without prescription, on the Darknet between
14   2016 and 2019. The Vendor began selling illegal prescription drugs on the Darknet in
15   approximately 2014 using multiple marketplaces, including Dream, Silk Road,
16   AlphaBay, and Wall Street Market, and from 2014 and thereafter made approximately
17   $250,000 worth of Bitcoin each month from the illegal drug sales.
18         11.    Additionally, on approximately sixteen occasions between December 2017
19   and May 2018, officers made undercover purchases of opioid drugs from the Vendor on
20   the Darknet. Those drugs were purchased without prescriptions in exchange for Bitcoin.
21   The defendant Bitcoin was the Vendor’s gross proceeds for those sales, after the
22   administrators of the various Darknet marketplaces reduced their commissions for
23   hosting the platform over which the Vendor sold drugs.
24                           Defendant Vessel and Defendant Permit
25         12.    Pursuant to a sales contract, on or about February 15, 2018, the Vendor
26   purchased the defendant vessel and defendant permit with $600,000 in U.S. currency.
27   The Vendor admitted to officers that the $600,000 was derived from Bitcoin collected
28   from sales of illegal prescription drugs that had been converted to U.S. currency. The

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1    purpose of converting the Bitcoin to U.S. currency was to conceal and disguise the
2    nature, location, source, ownership and control of the payments that the Vendor received
3    from the sale of drugs on the Darknet Marketplaces.
4                                  FIRST CLAIM FOR RELIEF
5          13.    Based on the facts set forth above, plaintiff alleges that the Defendants
6    represent or are traceable to proceeds of illegal narcotic trafficking, or were used or
7    intended to be used in one or more exchanges for a controlled substance or listed
8    chemical, in violation of 21 U.S.C. § 841 et seq. The Defendants are therefore subject to
9    forfeiture pursuant to 21 U.S.C. § 881(a)(6).
10                                SECOND CLAIM FOR RELIEF
11         14.    Based on the facts set forth above, plaintiff alleges that the Defendants
12   constitute property involved in multiple transactions or attempted transactions in
13   violation of 18 U.S.C. § 1956(a)(1)(B)(i) and/or (a)(1)(B)(i), or property traceable to
14   such property, with the specified unlawful activity being a controlled substance or listed
15   chemical violation. The Defendants are therefore subject to forfeiture pursuant to
16   18 U.S.C. § 981(a)(1)(A).
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1          WHEREFORE, the United States of America prays:
2          (a)   that due process issue to enforce the forfeiture of Defendants;
3          (b)   that due notice be given to all interested parties to appear and show cause
4    why forfeiture should be not be decreed;
5          (c)   that this Court decree forfeiture of Defendants to the United States of
6    America for disposition according to law; and
7          (d)   for such other and further relief as this Court may deem just and proper,
8    together with the costs and disbursements of this action.
9     Dated: December 29, 2020                  NICOLA T. HANNA
                                                United States Attorney
10                                              BRANDON D. FOX
                                                Assistant United States Attorney
11                                              Chief, Criminal Division
                                                STEVEN R. WELK
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14                                              KATHARINE SCHONBACHLER
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15                                              Attorneys for Plaintiff
16                                              UNITED STATES OF AMERICA

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